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                               CERTIFICATE OF SERVICE

        I, Michael Busenkell, Esquire, hereby certify that on September 30, 2015, I caused a true

and correct copy of the Objection to Debtors’ First Omnibus Motion for Order Pursuant to

Bankruptcy Code Sections 105(a) and 365(a) and Bankruptcy Rules 6006 and 9014

Authorizing Rejection of Certain Executory Contracts to be served via the CM/ECF electronic

notification system and served via First Class Mail upon the parties listed on the attached Service

List.




Dated: September 30, 2015                           /s/ Michael Busenkell
                                                    Michael Busenkell (No. 3933)
